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 8
                                 UNITED STATES DISTRICT COURT
 9
                                   CLARK COUNTY, NEVADA
10
        VS TECHNOLGIES, LLC, d/b/a                             Case No.: 2:17-cv-02349-KJD-NJK
11
        COBALT DATA CENTERS,
12
                Plaintiff,
13                                                             DEFENDANTS’ MOTION TO
        v.                                                     QUASH OR MODIFY SUBPOENAS
14
        SWITCH, LTD., a Nevada limited company;
15
        SWITCH BUSINESS SOLUTIONS, LLC, a Nevada
16      limited liability company; SWITCH
        COMMUNICATIONS GROUP, LLC, a Nevada
17      limited liability company; SWITCH, INC., a Nevada
        corporation.
18
19              Defendants.

20    1.     Introduction.
21           Defendants Switch, Ltd., et al (“Switch”), by and through their counsel of record,
22    Hutchison & Steffen, PLLC, respectfully request that the Court quash or modify the subpoenas
23    served on several of Switch’s clients, vendors, and members of Switch’s Board by Plaintiff V5
24
      Technologies, LLC, d/b/a Cobalt Data Centers (“Cobalt”). Switch objects to the subpoenas
25
      because most of the subpoenaed information is in the possession of the parties to this litigation.
26
      Therefore, there is no legitimate basis for breadth and scope of the subpoenas. Proceeding in
27
      this manner, Cobalt is causing undue expense on the third parties in violation of FRCP
28
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 1    45(d)(1). Additionally, it results in strain on Switch’s relationship with these parties.

 2           In other instances, the requests seek documents protected by the Stipulated Protective

 3    Order agreed to by the parties, and, as such, could result in unprotected copies of documents in

 4    Switch’s possession entering into the public record. Switch has asked Cobalt to confirm in

 5    writing that Cobalt will not disseminate any documents received under the subpoenas to

 6    anyone, including client representatives, until Switch can review the documents and place a

 7    proper designation on such documents as may be needed under the Stipulated Protective Order

 8    in this case. To the extent that Cobalt confirms this in writing, that is helpful in assuaging

 9    Switch’s concerns in this regard. However, given the imminent response deadline in the

10    subpoenas, Switch sees no alternative but to file the present motion at this time.

11           Switch is affected by these subpoenas, both for the reasons listed above and because of

12    the strain on Switch’s relationship with many of the individuals and entities that were

13    subpoenaed. Cobalt has no legitimate reason to seek the volume and scope of documents from

14    the individuals and entities listed below, and as such Switch respectfully requests that the court

15    quash or modify these subpoenas.

16    2.     Factual Background.
17           On May 29, 2018, Switch received notice from Cobalt that it had served subpoenas on
18    19 different individuals and entities. The subpoenaed parties consisted of Switch’s clients,
19    vendors, and board members. The requests included in these subpoenas were generally
20    objectionable, requesting documents from these third parties that were either in the possession
21    of one or both of the parties to the litigation, that were overly burdensome or overbroad, or that
22    sought documents protected under the Stipulated Protective Order agreed to by the parties. It
23
      is apparent from the tenor and timing of the subpoenas that they represent yet another attempt
24
      from Cobalt to harass and annoy Switch, this time by targeting those with whom it has business
25
      relationships.
26
             Responses to the subpoenas were scheduled for June 20, 2018. Switch has reached out
27
      to all of the subpoenaed parties to let them know that this Motion to Quash or Modify would be
28
                                                2 of 20
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 1    filed. Some of these parties have determined to file their own objections. Others, specifically

 2    Switch’s board members, are being represented by Switch, who will be filing objections on

 3    their behalf.

 4    3.      Legal Standard.
 5            FRCP 45(d)(3) lays out the requirements for quashing or modifying a subpoena. A

 6    federal court is required to quash or modify a subpoena that “subjects a person to undue

 7    burden.”1 The court may also quash a subpoena “to protect a person subject to or affected by a

 8    subpoena…if it requires disclosing a trade secret or other confidential research, development, or

 9    commercial information.”2 This Court has, in the past, held the following with regard to a

10    party’s moving to quash a subpoena served on a third party:

11    1. A party may move to quash a third party subpoena if it has a specific interest in the

12         documents requested. “In general, a party has no standing to move to quash a subpoena

13         served upon a third party unless the party claims a personal right or privilege with respect

14         to the documents requested in the subpoena.”3 Thus, a party may move to quash a subpoena

15         which seeks documents in which the moving party has a “personal right or privilege.”

16    2. A party may move to quash a third party subpoena if the subpoena will cause an undue

17         burden for the party itself. “A party lacks standing to quash a subpoena on grounds that it
18         is overbroad or unduly burdensome on a third party.”4 However, there is no restriction on
19         standing if a party seeks to quash a third-party subpoena because it will cause an undue
20         burden on the party itself. Indeed, courts must quash or modify a subpoena if it “subjects a
21         person to an undue burden.”5 FRCP 45 does not limit the burdened person to the individual
22
23            1
                  FRCP 45(d)(3)(A)(iv).
24            2
                  FRCP 45(d)(3)(B).
25            3
              Dale Evans Parkway 2012, LLC v. Nat'l Fire & Marine Ins. Co., No. EDCV15979JGBSPX,
      2016 WL 7486606, at *3 (C.D. Cal. Oct. 27, 2016).
26
              4
                  Id.
27
              5
                  Fed. R. Civ. P. 45(d)(3)(A)(iv)
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 1         or entity that is subject to the subpoena. Of course, “[t]he party that moves to quash a

 2         subpoena has the burden of persuasion,”6 meaning that it must clearly demonstrate the

 3         burden that the subpoena will create.

 4    3. Subpoenas cannot be used to circumvent other methods of discovery. The primary method

 5         of discovery is, of course, written discovery between the parties. Therefore, “[t]he court

 6         also has an obligation to protect non-parties from being burdened with subpoenas for

 7         documents that can more easily and inexpensively be obtained from the opposing party.”7

 8    4.      Legal Argument.
 9    A.      Cobalt’s Subpoenas are unnecessarily duplicative and create an undue burden on
10            Switch and the responding parties.
11            As a result of Cobalt’s subpoenas, Switch is both an entity that is being subjected to an

12    undue burden and, with regard to trade secret and other documents, a party “affected” by the

13    subpoena. Switch therefore is in a position to move this court to quash these subpoenas, and

14    through this Motion does so.

15            Cobalt’s subpoenas are inappropriate, and should be quashed by this court for several

16    reasons. The primary reason that the subpoenas should be quashed is their unnecessary

17    duplicativeness—many of the documents requested in the subpoenas are clearly in the
18    possession of either Cobalt or Switch. As this court has held in the past, it “has an obligation to
19    protect non-parties from being burdened with subpoenas for documents that can more easily and
20    inexpensively be obtained from the opposing party.”8 Since these documents will necessarily be
21    produced by one or both parties during the regular course of discovery, the requests represent an
22    unnecessary burden on the responding parties. Since these documents will necessarily be
23
24
              6
                  Dinkins v. Schinzel, No. 217CV01089JADGWF, 2017 WL 4183115, at *1 (D. Nev. Sept. 19,
25    2017)

26            7
               McCall v. State Farm Mut. Auto. Ins. Co., No. 216CV01058JADGWF, 2017 WL 3174914, at
      *6 (D. Nev. July 26, 2017)
27
              8
                  Id.
28
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 1    produced by one or both parties during the regular course of discovery, the requests represent an

 2    unnecessary burden on the responding parties.

 3            Moreover, the document categories in Cobalt’s subpoenas are duplicative to Requests

 4    for Production made by Cobalt to Switch. Switch has already spent considerable time and

 5    money beginning the search for these documents; to request these identical documents from

 6    Switch’s clients and vendors is unnecessary and burdensome for every party involved. Cobalt’s

 7    requests show essentially no efforts to minimize the burden placed on the parties responding to

 8    the subpoenas. For example, many of the subpoenas include the following request: “All

 9    documents concerning Cobalt and/or Cobalt Cheyenne, including without limitation all

10    communications concerning Cobalt and/or Cobalt Cheyenne.” While this request is obviously

11    extremely broad on its face, more important is the fact that every single communication with

12    Cobalt will necessarily be included in this category, meaning that Cobalt is seeking documents

13    of which it is very clearly in possession.

14            The fact that these requests are unduly burdensome to the responding parties will also

15    cause an undue burden to devolve upon Switch, as Switch’s relationship with the responding

16    parties (many of them longtime customers and/or vendors of Switch) will necessarily deteriorate

17    as a result of the burden placed on the responding parties by Cobalt’s requests. Already
18    subpoenaed parties have contacted Switch and expressed their frustration with these subpoenas.
19    One subpoenaed party, NetEffect, specifically requested that Switch pay its legal fees.9
20            The requests made by Cobalt in their subpoenas are also significantly overbroad. It is
21    true that a final determination from the court regarding the time period of the relevant discovery
22    period in this case is still pending. However, it is nevertheless unreasonable for Cobalt to ask
23
      parties that are, at best, tangentially related to this litigation to dig through emails and
24
      documents from the past seven and a half years to find information responsive to a dozen or
25
26
27             9
                 See Email Correspondence between Jeffrey Hall, Sam Castor, Jeff Grace, and David Rounds,
      attached as Exhibit A.
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 1    more generally overbroad and objectionable requests. The specific requests that are overbroad

 2    in their scope are laid out in additional detail infra. In Moon v. SCP Pool Corp., a California

 3    case frequently cited by this Court, the Central District Court of California noted that certain

 4    subpoena requests were “overbroad on [their] face and exceed[ ] the bounds of fair discovery”

 5    in that they sought “information over a ten year or greater period” and sought overly generalized

 6    information.10 The principle is the same, namely that the breadth of these requests is simply

 7    unreasonable. The Moon court further explained that many of these requested documents could

 8    more easily be obtained from the opposing party in the litigation, which is the same issue facing

 9    the parties in this case. The overly broad nature of the requests contained in the subpoenas

10    served by Cobalt also creates an undue burden for Switch as the unfair and overwhelming

11    amount of work that will have to be done by the responding parties will certainly place a strain

12    on their relationship with Switch.

13           Beyond the duplicativeness and overbreadth of the subpoenas, they are also written in

14    such a way as to allow Cobalt to avoid the terms of the parties’ Stipulated Protective Order.

15    Many of Cobalt’s subpoenas seek documents from third parties that fall within the purview of

16    the Protective Order signed by both parties. These documents include highly confidential

17    technical information, trade secret information, the public dissemination of which may be
18    harmful to Switch, as well as other sensitive documents. Any documents that are produced by
19    the responding parties are unlikely to be produced in accordance with the terms of the
20    Stipulated Protective Order. Pursuant to the protective order, highly confidential information
21    has been and will be redacted from Switch’s productions. Responses to these subpoenas will
22    include highly confidential information that was redacted from Switch’s production. As has
23
      been mentioned several times in the past, Cobalt has clearly entered this litigation with the
24
      intent to harass and annoy Switch, likely with the hope that Switch will give in and provide
25
26
             10
                  Moon v. SCP Pool Corp., 232 F.R.D. 633, 637 (C.D. Cal. 2005)
27
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                                                     6 of 20
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 1    Cobalt with an early “nuisance” settlement rather than suffer the burdens associated with such

 2    an unreasonable and invasive litigation style. It would suit Cobalt’s goals to have these third

 3    parties unwittingly produce Switch’s sensitive information without the protection of the

 4    protective order.

 5           i.       The Subpoenaed Parties.

 6           Cobalt has served subpoenas on each of the individuals or entities listed below. For the

 7    general reasons set forth above, as well as the specific reasons listed below, these subpoenas are

 8    inappropriate, and Switch moves that this court quash them.

 9           Nicole Folino. Ms. Folino is a Regional Vice President at Sandler Partners and is the
10    wife of Joe Folino, Vice President of Connectivity at Switch. Ms. Folino was conflict checked

11    prior to any retention Sandler Partners has brokered with regard to telecommunication and

12    colocation deals for Switch. Cobalt has made no factual allegations or legal claims against

13    Switch regarding Sandler Partners or Ms. Folino, and therefore their inclusion in the subpoena

14    process is wholly inappropriate. The requests themselves are also specifically objectionable in

15    the following ways:

16                •   Requests No. 1 through 10 all seek documents that would almost
                      certainly be in the possession of one or both of the parties to this
17                    litigation, and therefore will be produced during the regular course of
                      discovery. The requests are therefore unduly burdensome to the
18
                      responding party and, as a result, unduly burdensome to Switch.
19
                  •   Requests No. 2, 4, 5, 8, 9, 10, and 11 seek documents that are
20                    confidential in nature. Specifically, they seek trade-secret documentation
21                    regarding agreements made between Sandler Partners and/or Ms. Folino
                      and Switch, information from Switch’s policies and procedures, Switch’s
22                    pricing, and other sensitive information regarding Switch. The subpoena
                      makes no provision for the production of responsive documents pursuant
23                    to the parties’ Stipulated Protective Order, and therefore will result in the
24                    unprotected production of these sensitive documents.

25                •   Requests No. 11 and 12 are extremely vague, and will require the
                      respondent to perform an undue amount of labor to determine what, if
26
                      any, documents are responsive to these requests. This burden will likely
27                    have a negative impact on the relationship Ms. Folino and Sandler
                      Partners have with Switch. Furthermore, these requests are not a request
28
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 1                   for specific documents, but rather a fishing expedition: Cobalt is seeking
                     to gain generic information regarding colocation data center customers
 2                   and their preferences. The responding party has no responsibility to
                     provide Cobalt with this type of generic information that is not
 3
                     specifically related to any of the claims associated with this case, and
 4                   should not be required to do so.

 5           Cannery Casino. The Cannery Casino is a customer of Switch. All of the factual
 6    allegations and legal claims made by Cobalt regarding Cannery Casino involve Switch’s alleged
 7    refusal to allow third parties to work with Cobalt. Any requests that fall outside of that scope
 8    are excessive and should be disallowed. The requests themselves are also specifically
 9    objectionable in the following ways:
10               •    Requests No. 1 through 11 all seek documents that would almost
                     certainly be in the possession of one or both of the parties to this
11                   litigation, and therefore will be produced during the regular course of
12                   discovery. The requests are therefore unduly burdensome to the
                     responding party and, as a result, unduly burdensome to Switch.
13
                 •   Requests No. 5 through 9 seek documents that are confidential in
14                   nature. Specifically, they seek trade-secret documentation regarding
                     agreements made between Cannery Casino and Switch, information from
15                   Switch’s policies and procedures, Switch’s pricing, and other sensitive
16                   information regarding Switch. The subpoena makes no provision for the
                     production of responsive documents pursuant to the parties’ Stipulated
17                   Protective Order, and therefore will result in the unprotected production
                     of these sensitive documents.
18
19               •   Requests No. 11 and 12 are extremely vague, and will require the
                     respondent to perform an undue amount of labor to determine what, if
20                   any, documents are responsive to these requests. This burden will likely
                     have a negative impact on the relationship Cannery Casino has with
21                   Switch. Furthermore, these requests clearly amount to a fishing
22                   expedition: Cobalt is seeking to gain generic information regarding
                     colocation data center customers. The responding party has no
23                   responsibility to provide Cobalt with this generic information that is not
                     specifically related to any of the claims associated with this case, and
24                   should not be required to do so.
25
             CenturyLink. CenturyLink and Switch have a long history of doing business together,
26
      as CenturyLink is one of the providers of internet and other digital services relied on by many in
27
      the Las Vegas valley. All of the factual allegations and legal claims made by Cobalt regarding
28
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 1    CenturyLink deal with Switch’s alleged refusal to allow third parties to work with Cobalt. Any

 2    requests that fall outside of that scope are excessive and should be disallowed. The requests

 3    themselves are also specifically objectionable in the following ways:

 4                •    Requests No. 1 through 13 all seek documents that would almost
                       certainly be in the possession of one or both of the parties to this
 5                     litigation, and therefore will be produced during the regular course of
                       discovery. The requests are therefore unduly burdensome to the
 6
                       responding party and, as a result, unduly burdensome to Switch.
 7
                  •    Requests No. 1 through 6 and 11 through 13 seek documents that are
 8                     confidential in nature. Specifically, they seek trade-secret documentation
                       regarding agreements made between CenturyLink and Switch,
 9                     information from Switch’s policies and procedures, Switch’s pricing, and
10                     other sensitive information regarding Switch. The subpoena makes no
                       provision for the production of responsive documents pursuant to the
11                     parties’ Stipulated Protective Order, and therefore will result in the
                       unprotected production of these sensitive documents.
12
                  •    Requests No. 9 through 11 and 14 are extremely vague, and will require
13
                       the respondent to perform an undue amount of labor to determine what, if
14                     any, documents are responsive to these requests. This burden will likely
                       have a negative impact on the relationship CenturyLink has with Switch.
15
              Defense Advanced Research Projects (“DARPA”). DARPA is a Switch customer.
16
      All of the factual allegations and legal claims made by Cobalt regarding DARPA concern
17
      DARPA’s decision to change the requirements to obtain a specific government contract. Cobalt
18
      admits in its Complaint that this decision was made by DARPA itself. As such, any requests
19
      that fall outside of that scope are excessive and should be disallowed. The requests themselves
20
21    are also specifically objectionable in the following ways:

22                •    Requests No. 1 and 211 both seek, at least in part, documents that would
                       almost certainly be in the possession of one or both of the parties to this
23                     litigation, and therefore will be produced during the regular course of
                       discovery. The requests are therefore unduly burdensome to the
24                     responding party and, as a result, unduly burdensome to Switch.
25
26
27            11
                 A numbering error resulted in Cobalt’s two requests to DARPA being labelled as Request No.
      15 and 16. The correct numbering is included here for the sake of clarity.
28
                                                     9 of 20
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 1                •   Request No. 2 seeks documents that are confidential in nature.
                      Specifically, they seek trade-secret documentation regarding agreements
 2                    made between DARPA and Switch and Switch’s pricing. The subpoena
                      makes no provision for the production of responsive documents pursuant
 3
                      to the parties’ Stipulated Protective Order, and therefore will result in the
 4                    unprotected production of these sensitive documents.

 5            LV Global Econ Alliance (“LV GEA”). Switch sponsored LVGEA’s marketing,
 6     branding, and special events. In addition, Switch donated approximately $1,000,000 in free
 7     office and event space to LVGEA to assist in attracting business to Las Vegas. Cobalt has made
 8     no factual allegations or legal claims against Switch regarding LV GEA, and therefore its
 9     inclusion in the subpoena process is wholly inappropriate. The requests themselves are also
10     specifically objectionable in the following ways:
11                •   Requests No. 1 through 5 and 8 through 10 all seek documents that
                      would almost certainly be in the possession of one or both of the parties
12                    to this litigation, and therefore will be produced during the regular course
13                    of discovery. The requests are therefore unduly burdensome to the
                      responding party and, as a result, unduly burdensome to Switch.
14
                  •   Requests No. 1 through 5 and 8 seek documents that are confidential in
15                    nature. Specifically, they seek trade-secret documentation regarding
                      agreements made between LV GEA and Switch, Switch’s pricing, and
16
                      other sensitive information regarding Switch. The subpoena makes no
17                    provision for the production of responsive documents pursuant to the
                      parties’ Stipulated Protective Order, and therefore will result in the
18                    unprotected production of these sensitive documents.
19
                  •   Requests No. 5 through 10 are extremely vague, and will require the
20                    respondent to perform an undue amount of labor to determine what, if
                      any, documents are responsive to these requests. This burden will likely
21                    have a negative impact on the relationship LV GEA has with Switch.
                      Furthermore, several of these requests clearly amount to a fishing
22
                      expedition: Cobalt is seeking to gain generic information regarding any
23                    and all colocation data centers with ties to LV GEA. The responding
                      party has no responsibility to provide Cobalt with this generic
24                    information that is not specifically related to any of the claims associated
                      with this case, and should not be required to do so.
25
26            Meruelo Group, LLC (“Meruelo”). To the best of Switch’s knowledge, there is no
27     relationship between the Meruelo Group and Switch. Cobalt has made no factual allegations or
28
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 1     legal claims against Switch regarding Meruelo, and therefore its inclusion in the subpoena

 2     process is wholly inappropriate. The requests themselves are also specifically objectionable in

 3     the following ways:

 4                •   Requests No. 1 through 12 all seek, at least in part, documents that
                      would almost certainly be in the possession of one or both of the parties
 5                    to this litigation, and therefore will be produced during the regular course
                      of discovery. The requests are therefore unduly burdensome to the
 6
                      responding party and, as a result, unduly burdensome to Switch.
 7
                  •   Requests No. 5 through 12 seek documents that are confidential in
 8                    nature. Specifically, they seek trade-secret documentation regarding
                      agreements made between Meruelo and Switch, information from
 9                    Switch’s policies and procedures, Switch’s pricing, and other sensitive
10                    information regarding Switch. The subpoena makes no provision for the
                      production of responsive documents pursuant to the parties’ Stipulated
11                    Protective Order, and therefore will result in the unprotected production
                      of these sensitive documents.
12
                  •   Requests No. 1 through 6 and 13 through 15 are extremely vague, and
13
                      will require the respondent to perform an undue amount of labor to
14                    determine what, if any, documents are responsive to these requests. This
                      burden will likely have a negative impact on the relationship Meruelo has
15                    with Switch. Furthermore, several of these requests clearly amount to a
                      fishing expedition: Cobalt is seeking to gain generic information
16                    regarding colocation data center customers. The responding party has no
                      responsibility to provide Cobalt with this generic information that is not
17
                      specifically related to any of the claims associated with this case, and
18                    should not be required to do so.

19             NetEffect. NetEffect is a customer of Switch. Cobalt has made no factual allegations
20     or legal claims against Switch regarding NetEffect, and therefore its inclusion in the subpoena
21     process is wholly inappropriate. In fact, NetEffect has raised specific concerns regarding the
22
       scope of the subpoena and the subpoena is affecting the business relationship between Switch
23
       and NetEffect. The requests themselves are also specifically objectionable in the following
24
       ways:
25
                  •   Requests No. 1 through 9 all seek, at least in part, documents that would
26                    almost certainly be in the possession of one or both of the parties to this
                      litigation, and therefore will be produced during the regular course of
27
                      discovery. The requests are therefore unduly burdensome to the
28                    responding party and, as a result, unduly burdensome to Switch.
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 1
                  •   Requests No. 4, 5, 8, and 9 seek documents that are confidential in
 2                    nature. Specifically, they seek trade-secret documentation regarding
                      agreements made between NetEffect and Switch, information from
 3
                      Switch’s policies and procedures, Switch’s pricing, and other sensitive
 4                    information regarding Switch. The subpoena makes no provision for the
                      production of responsive documents pursuant to the parties’ Stipulated
 5                    Protective Order, and therefore will result in the unprotected production
                      of these sensitive documents.
 6

 7                •   Requests No. 1, 4, and 6 through 12 are extremely vague, and will
                      require the respondent to perform an undue amount of labor to determine
 8                    what, if any, documents are responsive to these requests. This burden
                      will likely have a negative impact on the relationship NetEffect has with
 9                    Switch. Furthermore, several of these requests clearly amount to a
                      fishing expedition: Cobalt is seeking to gain generic information
10                    regarding colocation data center customers. The responding party has no
11                    responsibility to provide Cobalt with this generic information that is not
                      specifically related to any of the claims associated with this case, and
12                    should not be required to do so.

13            Networx Systems. Networx is a Switch Vendor. All of the factual allegations and legal
14     claims made by Cobalt regarding Networx have to do with Switch’s alleged offer to pay
15     Networx’s defense costs and legal fees if it agreed to break its contract with Cobalt. Any
16     requests that fall outside of that scope are excessive and should be disallowed. The requests
17     themselves are also specifically objectionable in the following ways:
18                •   Requests No. 1 through 11 all seek documents that would almost
19                    certainly be in the possession of one or both of the parties to this
                      litigation, and therefore will be produced during the regular course of
20                    discovery. The requests are therefore unduly burdensome to the
                      responding party and, as a result, unduly burdensome to Switch.
21
22                •   Requests No. 2 and 5 through 11 seek documents that are confidential
                      in nature. Specifically, they seek trade-secret documentation regarding
23                    agreements made between Networx and Switch, information from
                      Switch’s policies and procedures, Switch’s pricing, and other sensitive
24
                      information regarding Switch. The subpoena makes no provision for the
25                    production of responsive documents pursuant to the parties’ Stipulated
                      Protective Order, and therefore will result in the unprotected production
26                    of these sensitive documents.
27
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 1                •   Requests No. 1 through 4, 6, and 9 through 14 are extremely vague,
                      and will require the respondent to perform an undue amount of labor to
 2                    determine what, if any, documents are responsive to these requests. This
                      burden will likely have a negative impact on the relationship Networx has
 3
                      with Switch. Furthermore, several of these requests clearly amount to a
 4                    fishing expedition: Cobalt is seeking to gain generic information
                      regarding colocation data center customers. The responding party has no
 5                    responsibility to provide Cobalt with this generic information that is not
                      specifically related to any of the claims associated with this case, and
 6                    should not be required to do so.
 7
              Nevada Property1 (“Property1”). Nevada Property1 is the owner and operator of the
 8
       Cosmopolitan Resort. Cosmopolitan Resorts was a former customer of Switch. Cobalt has
 9
       made no factual allegations or legal claims against Switch regarding Property1, and therefore its
10
       inclusion in the subpoena process is wholly inappropriate. The requests themselves are also
11
       specifically objectionable in the following ways:
12
                  •   Requests No. 1, 2, and 4 through 11 all seek documents that would
13                    almost certainly be in the possession of one or both of the parties to this
                      litigation, and therefore will be produced during the regular course of
14                    discovery. The requests are therefore unduly burdensome to the
                      responding party and, as a result, unduly burdensome to Switch.
15

16                •   Requests No. 4 through 11 seek documents that are confidential in
                      nature. Specifically, they seek trade-secret documentation regarding
17                    agreements made between Property1 and Switch, information from
                      Switch’s policies and procedures, Switch’s pricing, and other sensitive
18                    information regarding Switch. The subpoena makes no provision for the
19                    production of responsive documents pursuant to the parties’ Stipulated
                      Protective Order, and therefore will result in the unprotected production
20                    of these sensitive documents.
21                •   Requests No. 1, 2, and 4 through 14 are extremely vague, and will
22                    require the respondent to perform an undue amount of labor to determine
                      what, if any, documents are responsive to these requests. This burden
23                    will likely have a negative impact on the relationship Property1 has with
                      Switch. Furthermore, several of these requests clearly amount to a
24
                      fishing expedition: Cobalt is seeking to gain generic information
25                    regarding colocation data center customers. The responding party has no
                      responsibility to provide Cobalt with this generic information that is not
26                    specifically related to any of the claims associated with this case, and
                      should not be required to do so.
27
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                                                13 of 20
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 1             Opportunity Village. Opportunity Village is a philanthropic entity and a Switch
 2     customer. A Switch executive served on the board and Switch have been donating its services to

 3     show its support to the organizations. It is our understanding that Cobalt wished to charge

 4     Opportunity Village for these same services. All of the factual allegations and legal claims

 5     made by Cobalt regarding Opportunity Village have to do with the entirely unsupported

 6     allegation that a member of Switch’s board influenced Opportunity Village to terminate its

 7     relationship with Cobalt. Any requests that fall outside of that scope are excessive and should

 8     be disallowed. The requests themselves are also specifically objectionable in the following

 9     ways:

10                •   Requests No. 1 through 11 and 15 all seek documents that would
                      almost certainly be in the possession of one or both of the parties to this
11                    litigation, and therefore will be produced during the regular course of
                      discovery. The requests are therefore unduly burdensome to the
12
                      responding party and, as a result, unduly burdensome to Switch.
13
                  •   Requests No. 2 and 5 through 11 seek documents that are confidential
14                    in nature. Specifically, they seek trade-secret documentation regarding
                      agreements made between Opportunity Village and Switch, information
15                    from Switch’s policies and procedures, Switch’s pricing, and other
16                    sensitive information regarding Switch. The subpoena makes no
                      provision for the production of responsive documents pursuant to the
17                    parties’ Stipulated Protective Order, and therefore will result in the
                      unprotected production of these sensitive documents.
18
19                •   Requests No. 1 through 14 are extremely vague, and will require the
                      respondent to perform an undue amount of labor to determine what, if
20                    any, documents are responsive to these requests. This burden will likely
                      have a negative impact on the relationship Opportunity Village has with
21                    Switch. Furthermore, several of these requests clearly amount to a
22                    fishing expedition: Cobalt is seeking to gain generic information
                      regarding colocation data center customers. The responding party has no
23                    responsibility to provide Cobalt with this generic information that is not
                      specifically related to any of the claims associated with this case, and
24                    should not be required to do so.
25
               Sandler Partners. As indicated above, Sandler Partners has brokered
26
       telecommunication and colocation deals for Switch. Cobalt has made no factual allegations or
27
       legal claims against Switch regarding Sandler Partners, and therefore its inclusion in the
28
                                                14 of 20
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 1     subpoena process is wholly inappropriate. The requests themselves are also specifically

 2     objectionable in the following ways:

 3                •   Requests No. 1 through 9 all seek documents that would almost
                      certainly be in the possession of one or both of the parties to this
 4                    litigation, and therefore will be produced during the regular course of
                      discovery. The requests are therefore unduly burdensome to the
 5
                      responding party and, as a result, unduly burdensome to Switch.
 6
                  •   Requests No. 2, 4, 5, 8, and 9 seek documents that are confidential in
 7                    nature. Specifically, they seek trade-secret documentation regarding
                      agreements made between Sandler Partners and Switch, information from
 8                    Switch’s policies and procedures, Switch’s pricing, and other sensitive
 9                    information regarding Switch. The subpoena makes no provision for the
                      production of responsive documents pursuant to the parties’ Stipulated
10                    Protective Order, and therefore will result in the unprotected production
                      of these sensitive documents.
11
                  •   Requests No. 10 through 12 are extremely vague, and will require the
12
                      respondent to perform an undue amount of labor to determine what, if
13                    any, documents are responsive to these requests. This burden will likely
                      have a negative impact on the relationship Sandler Partners has with
14                    Switch. Furthermore, several of these requests clearly amount to a
                      fishing expedition: Cobalt is seeking to gain generic information
15                    regarding colocation data center customers. The responding party has no
                      responsibility to provide Cobalt with this generic information that is not
16
                      specifically related to any of the claims associated with this case, and
17                    should not be required to do so.

18            Silverback. Silverback is a vendor for Switch customers and assists Switch customers
19     in migrating services to Switch facilities. All of the factual allegations and legal claims made
20     by Cobalt regarding Silverback have to do with the entirely unsupported allegation that Switch
21     founder Rob Roy influenced Silverback to cancel its relationship with Cobalt. Any requests
22
       that fall outside of that scope are excessive and should be disallowed. The requests themselves
23
       are also specifically objectionable in the following ways:
24
                  •   Requests No. 1 through 10 all seek documents that would almost
25                    certainly be in the possession of one or both of the parties to this
                      litigation, and therefore will be produced during the regular course of
26                    discovery. The requests are therefore unduly burdensome to the
27                    responding party and, as a result, unduly burdensome to Switch.

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                                                15 of 20
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 1                •   Requests No. 2, 5, 6, 9, and 10 seek documents that are confidential in
                      nature. Specifically, they seek trade-secret documentation regarding
 2                    agreements made between Silverback and Switch, information from
                      Switch’s policies and procedures, Switch’s pricing, and other sensitive
 3
                      information regarding Switch. The subpoena makes no provision for the
 4                    production of responsive documents pursuant to the parties’ Stipulated
                      Protective Order, and therefore will result in the unprotected production
 5                    of these sensitive documents.
 6                •   Requests No. 11 through 12 are extremely vague, and will require the
 7                    respondent to perform an undue amount of labor to determine what, if
                      any, documents are responsive to these requests. This burden will likely
 8                    have a negative impact on the relationship Silverback has with Switch.
                      Furthermore, several of these requests clearly amount to a fishing
 9                    expedition: Cobalt is seeking to gain generic information regarding
                      colocation data center customers. The responding party has no
10                    responsibility to provide Cobalt with this generic information that is not
11                    specifically related to any of the claims associated with this case, and
                      should not be required to do so.
12
              Technology Business Alliance of NV (“TBAN”). When TBAN was still an
13
       operational entity, both Switch and TBAN worked toward increasing the profile of technology
14
       businesses in Nevada. TBAN is no longer an active entity. All of the factual allegations and
15
       legal claims made by Cobalt regarding TBAN have to do with the entirely unsupported
16
       allegation that Switch influenced TBAN to “exclude[] Cobalt’s brokers” and to not allow
17
       Cobalt to sponsor TBAN events. Any requests that fall outside of that scope are excessive and
18
       should be disallowed. The requests themselves are also specifically objectionable in the
19
       following ways:
20
                  •   Requests No. 1 through 6 all seek documents that would almost
21
                      certainly be in the possession of one or both of the parties to this
22                    litigation, and therefore will be produced during the regular course of
                      discovery. The requests are therefore unduly burdensome to the
23                    responding party and, as a result, unduly burdensome to Switch.
24
                  •   Requests No. 2 and 6 seek documents that are confidential in nature.
25                    Specifically, they seek trade-secret documentation regarding agreements
                      made between TBAN and Switch, information from Switch’s policies
26                    and procedures, Switch’s pricing, and other sensitive information
27                    regarding Switch. The subpoena makes no provision for the production
                      of responsive documents pursuant to the parties’ Stipulated Protective
28
                                               16 of 20
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 1                    Order, and therefore will result in the unprotected production of these
                      sensitive documents.
 2
                  •   Requests No. 7 and 8 are extremely vague, and will require the
 3
                      respondent to perform an undue amount of labor to determine what, if
 4                    any, documents are responsive to these requests. These requests seek
                      documentation regarding the positives of partnering with TBAN and the
 5                    negatives of not partnering with TBAN. This essentially encompasses
                      TBAN’s entire marketing strategy, if not every document in TBAN’s
 6                    possession. If TBAN is required to produce all documents responsive to
 7                    these requests, the burden will likely have a negative impact on the
                      relationship TBAN has with Switch.
 8
              Zayo Group (“Zayo”). Zayo is a carrier who provides bandwidth and connectivity for
 9
       Switch and Switch customers. All of the factual allegations and legal claims made by Cobalt
10
       regarding Zayo have to do with a pre-existing marketing relationship between Switch and Zayo.
11
       Any requests that fall outside of that scope are excessive and should be disallowed. The
12
       requests themselves are also specifically objectionable in the following ways:
13
                  •   Requests No. 1 through 11, 13, and 14 all seek documents that would
14                    almost certainly be in the possession of one or both of the parties to this
                      litigation, and therefore will be produced during the regular course of
15                    discovery. The requests are therefore unduly burdensome to the
16                    responding party and, as a result, unduly burdensome to Switch.

17                •   Requests No. 2 through 6 and 13 through 15 seek documents that are
                      confidential in nature. Specifically, they seek trade-secret documentation
18                    regarding agreements made between Zayo and Switch, information from
19                    Switch’s policies and procedures, Switch’s pricing, and other sensitive
                      information regarding Switch. The subpoena makes no provision for the
20                    production of responsive documents pursuant to the parties’ Stipulated
                      Protective Order, and therefore will result in the unprotected production
21                    of these sensitive documents.
22
                  •   Requests No. 12 and 16 are extremely vague, and will require the
23                    respondent to perform an undue amount of labor to determine what, if
                      any, documents are responsive to these requests. This burden will likely
24
                      have a negative impact on the relationship Zayo has with Switch.
25
       B.     At the very least, Cobalt’s Subpoenas should be modified with regard to
26            their overbroad scope and their lack of deference to the parties’ Stipulated
              Protective Order.
27
28
                                                17 of 20
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 1            If this Court determines not to quash Cobalt’s subpoenas in their entirety, it is clear that,

 2     significant modifications of each of the subpoenas is absolutely necessary. First, each subpoena

 3     should be modified to remove those requests that seek documents more easily obtained from

 4     either Switch or Cobalt, such as communications and agreements with the parties. Second, the

 5     unreasonable breadth of most of the requests should be limited, both with regard to time (Cobalt

 6     is currently seeking seven years of documents) and scope (e.g. Cobalt’s requests for “ALL

 7     DOCUMENTS” regarding the generic search of “customers” for colocation data center

 8     services).

 9            Finally, some modification of all of the subpoenas must occur in order to bring any

10     documents produced in response thereto under the auspices of the Stipulated Protective Order.

11     As mentioned above, Cobalt simply attached the protective order to each of its subpoenas, but

12     made no other mention of it anywhere else in the text of the subpoenas. Cobalt provided no

13     instructions as to how to the responding parties could comply with the protective order in their

14     production of responsive documents. Without modifying the subpoenas to include this

15     protection, Switch’s sensitive, confidential, and trade-secret information will become part of the

16     public record. At the very least, then, Cobalt’s subpoenas need to be significantly modified

17     before the responding parties can be required to produce documents in response thereto.
18     5.     Conclusion
19            Cobalt began this litigation at a time calculated to cause the most significant disruption
20     to Switch: immediately prior to Switch’s initial public offering. It is clear that Cobalt intended
21     to annoy and harass Switch to induce a nuisance settlement. Cobalt’s overbroad and unduly
22     burdensome subpoenas to Switch’s clients, vendors, and board members make it clear that
23
       Cobalt intends to continue this method of litigation. Switch itself is at risk from these
24
       subpoenas, both because of the undue burden that they will create with regard to Switch’s
25
       business relationships and with regard to the public dissemination of its sensitive documents.
26
       ///
27
       ///
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 1     For these reasons, Switch respectfully requests an order to quash or, at the very least, modify

 2     the subpoenas at issue.

 3            DATED this 20th day of June, 2018.

 4
                                                            HUTCHISON & STEFFEN, LLC
 5

 6                                                          /s/ Jeffrey R. Hall
                                                            _____________________________
 7                                                          Joseph S. Kistler (3458)
                                                            Jeffrey R. Hall (9572)
 8                                                          Peccole Professional Park
                                                            10080 West Alta Drive, Suite 200
 9
                                                            Las Vegas, Nevada 89145
10                                                          Phone (702) 385-2500
                                                            Fax (702) 385-2086
11                                                          jkistler@hutchlegal.com
                                                            jhall@hutchlegal.com
12

13                                                          Attorneys for Defendants

14

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 1                                     CERTIFICATE OF SERVICE

 2            Pursuant to FED. R. CIV. P. 5(b), I certify that I am an employee of Hutchison &
 3     Steffen, PLLC and that on this 20th day of June, 2018 I caused the above and foregoing
 4     document entitled DEFENDANTS’ MOTION TO QUASH OR MODIFY SUBPOENAS to be
 5     served as follows by personally transmitting a copy of same via the Court’s CM/ECF Internet
 6     system to their respective registered email site.
 7

 8
                                                      /s/Danielle Kelley
 9                                                    An Employee of
                                                      Hutchison & Steffen, PLLC
10

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                    EXHIBIT PAGE ONLY




                      EXHIBIT A
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From:                              David B. Rounds <drounds@neteffect.com>
Sent:                              Wednesday, June 13, 2018 4:06 PM
To:                                Jeffrey Hall; Jeff Grace
Cc:                                sam@switch.com; abirk@switch.com
Subject:                           RE: Subpoena for Cobalt lawsuit


Mr. Hall and Mr. Castor,

Please respond with a copy of our contract with Switch. This has been requested previously through conversations with
Mr. Castor. Please note the original contract should be listed under NetEffect Networks Inc, and potentially amended on
or after July 1, 2014 due to our merger with then UptimeLV, Inc and NetEffect Networks Inc, to for NetEffect, LLC.

There are few items I think we should discuss:
   1. Switch providing an amended contract for our services with Switch to provide MUTUAL identification against
        any further claims against Switch.
   2. it is also worth mentioning that NetEffect, LLC is requesting reimbursement for any legal fees that will be
        incurred from responding to the Subpoena for the Cobalt lawsuit with Switch.
   3. We are a small company in comparison to Switch, this will be a burdensome and costly process for us and
        believe that what we are asking for is both reasonable and fair.

Please keep us updated on any response to the letter you sent to the opposing counsel, and any motions to quash. We
have spoken to our legal counsel and will be sending a letter in response to the subpoena to notify them we will be
waiting for the result of your request/motion.

Best regards,


David B. Rounds | President
Voice: 702-318-7700, ext. 502
Email: drounds@neteffect.com
Support Requests: support@neteffect.com
375 E. WarmSprings Road, Suite 102
Las Vegas, NV 89119
Need an appointment with me? Click below to find an open slot, and then send me an invite!
http://bit.ly/2dvZiLi




From: Jeffrey Hall [mailto:JHall@hutchlegal.com]
Sent: Wednesday, June 13, 2018 1:25 PM
To: Jeff Grace <jgrace@neteffect.com>
Cc: David B. Rounds <drounds@neteffect.com>; sam@switch.com; abirk@switch.com
Subject: RE: Subpoena for Cobalt lawsuit

Jeff, thanks for taking the time to discuss this matter. Attached is the letter we sent to Cobalt’s counsel. I also attached
a copy of the subpoena for your convenience. Again, we will be filing a motion to quash or modify the subpoena.


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Feel free to have your legal counsel give me a buzz if he/she wants to discuss. I’m also available if you have any further
questions.

Thanks.

From: Jeff Grace [mailto:jgrace@neteffect.com]
Sent: Tuesday, June 12, 2018 5:59 PM
To: Jeffrey Hall <JHall@hutchlegal.com>
Cc: David B. Rounds <drounds@neteffect.com>; sam@switch.com; abirk@switch.com
Subject: RE: Subpoena for Cobalt lawsuit

Hi Jeff,

I’m Dave’s partner, and can help in his absence this week. My contact info is below – please let me know how I can
assist. I’m readily reachable by phone and email.

Regards,
Jeff

Jeff Grace | CEO
Voice: 702-318-7700, ext. 501
Email: jgrace@neteffect.com
Support Requests:support@neteffect.com
375 E. Warm Springs Road, Suite 102
Las Vegas, NV 89119




From: David B. Rounds
Sent: Tuesday, June 12, 2018 5:54 PM
To: Jeff Grace <jgrace@neteffect.com>
Subject: Fwd: Subpoena for Cobalt lawsuit


Please see what they need...


Sent from my Verizon, Samsung Galaxy smartphone



-------- Original message --------
From: Sam Castor <sam@switch.com>
Date: 6/12/18 11:44 AM (GMT-10:00)
To: "David B. Rounds" <drounds@neteffect.com>
Cc: Anne-Marie Birk <abirk@switch.com>, Jeffrey Hall <JHall@hutchlegal.com>
Subject: RE: Subpoena for Cobalt lawsuit

David,

                                                             2
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I’ve copied Jeff Hall, our outside counsel. I understand you’re on vacation, so please reach out to him as soon as you get
this.



                  SAM CASTOR
                  EVP OF POLICY
                  DEPUTY GENERAL COUNSEL

                  o   +1 (702) 444-4102
                  m   +1 (702) 371-0724
                  e   sam@switch.com
                  +   Switch e-card
                  We use e-cards to reduce waste of natural resources and promote sustainability.




From: Sam Castor
Sent: Wednesday, June 6, 2018 7:55 AM
To: David B. Rounds <drounds@neteffect.com>
Cc: Anne-Marie Birk <abirk@switch.com>
Subject: Re: Subpoena for Cobalt lawsuit

David,

I need to connect with outside counsel but as I mentioned, we are fully opposing the subpoenas and will do our best to
contest the requests as we think they are duplicative and unduly burdensome. We are deeply sorrowed by opposing
counsels tactics. We view these requests as designed to harass and annoy you and Switch. While we are using all
efforts to fight this, please also feel free to secure your own legal advice.



Please excuse brevity and typos


                  SAM CASTOR
                  EVP OF POLICY
                  DEPUTY GENERAL COUNSEL

                  o +1 (702) 444-4102
                  m +1 (702) 371-0724
                  e sam@switch.com

                                                                        3
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On Jun 5, 2018, at 2:48 PM, David B. Rounds <drounds@neteffect.com> wrote:

       Sam,

       You were going to send me an email?


       Best regards,


       David B. Rounds | President
       Voice: 702-318-7700, ext. 502
       Email:drounds@neteffect.com
       Support Requests:support@neteffect.com
       375 E. Warm Springs Road, Suite 102
       Las Vegas, NV 89119
       Need an appointment with me? Click below to find an open slot, and then send me an invite!
       http://bit.ly/2dvZiLi
       <image001.png>

       From: David B. Rounds
       Sent: Thursday, May 31, 2018 4:55 PM
       To: 'Sam@switch.com' <Sam@switch.com>
       Subject: Subpoena for Cobalt lawsuit

       Sam,

       Please reach out to me ASAP regarding a Subpoena we received RE: Cobalt v Switch.

       702.521.0980


       Best regards,


       David B. Rounds | President
       Voice: 702-318-7700, ext. 502
       Email:drounds@neteffect.com
       Support Requests:support@neteffect.com
       357 E. Warm Springs, Suite 102
       Las Vegas, NV 89119
       Need an appointment with me? Click below to find an open slot, and then send me an invite!
       http://bit.ly/2dvZiLi
       <image001.png>




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and/or identification, and (d) is not intended for transmission to, or receipt by unauthorized persons. Your
retention or possession will be viewed as your consent to the foregoing and covenant to comply with Switch's
then current acceptable use policy available at www.switch.com/aup. If you are not the intended recipient, (i)
please notify the sender immediately by telephone or by replying to this message and (ii) then delete this
message, any attachments, chains, copies or portions from your system(s). Retention of this email and the
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Jeffrey Hall
Partner
      Right-click here to download pictures. To help p ro tect y our priv acy , Outlook prev ented automatic download of this picture from the Internet.
      HS logo




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